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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MARYLAND
                               GREENBELT DIVISION

 In re                                                   Chapter 11

 Prepaid Wireless Group LLC,                             Case No. 24-18852

                                      Debtor.            Hon. Maria Ellena Chavez-Ruark


           T-MOBILE USA, INC.’S MOTION FOR ENTRY OF AN ORDER
                 AUTHORIZING REQUESTS FOR PRODUCTION,
     THE ISSUANCE OF SUBPOENAS FOR THE PRODUCTION OF DOCUMENTS
             AND THE PROVISION OF TESTIMONY PURSUANT TO
       RULE 2004 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

         T-Mobile USA, Inc. (“T-Mobile”) hereby moves this Court (the “Motion”) pursuant to

Rule 2004 of the Federal Rules of Bankruptcy Procedure, for entry of an order authorizing T-

Mobile to issue document requests and subpoenas compelling the production of documents and

the provision of testimony by Prepaid Wireless Group LLC (the “Debtor” or “PWG”), Paul

Greene, Prepaid Wireless Wholesale, LLC (“PWW”), Global Connection Inc. of America, LLC

d/b/a StandUp Wireless (“SUW”), X Wireless, LLC (“X Wireless”) and Q Link Wireless, LLC

(“Q Link”). In support of the Motion, T-Mobile respectfully states as follows:

                                        INTRODUCTION

         1.     T-Mobile is the Debtor’s sole secured creditor and has a lien on all of the

Debtor’s assets. T-Mobile is also by-far the Debtor’s largest creditor, holding a claim

significantly larger than the combined claims of all the Debtor’s 20 largest unsecured creditors.

Since the petition date, T-Mobile has been diligently evaluating the Debtor’s bankruptcy filings

as part of its assessment of the Debtor’s overall reorganizational prospects, management

competency and ability to operate as a going concern during the pendency of this case.




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         2.    Thus far during the pendency of this case, the Debtor has provided T-Mobile with

limited financial data, which information is insufficient to understand and assess the Debtor’s

complicated finances and financial structure. Indeed, the financial data raises far more questions

than it answers regarding the interrelationships between the Debtor, its affiliates PWW, StandUp

and X Wireless and its ownership.

         3.    For instance, while the Debtor has represented to the Court that the Debtor’s

bankruptcy filing was solely due to its inability to pay T-Mobile’s demand for additional security

expressly provided under their contract, the Debtor’s financial disclosures show that the Debtor

has transferred tens of millions of dollars to its owners and its affiliates. Such transfers include

$17 million in transfers over the past year directly to its CEO, Paul Greene (“Greene”)—

including $10 million transferred on June 27, 2024 at a time when the Debtor was in arrears on

its contract with T-Mobile. They also show a $14.5 million transfer to an escrow account to fund

the acquisition of equity of a Debtor an affiliate for Greene’s benefit.

         4.    In addition, T-Mobile is informed and believes that prepetition the Debtor and

Greene may have acquired Q Link, an MVNO that partnered with T-Mobile to resell cellular

services to consumers. Greene’s, the Debtor’s, and Greene’s attorneys have represented to T-

Mobile that Greene now represents and speaks for Q Link. However, to date, T-Mobile has not

received official notification of Q Link’s acquisition or assignment of its contract with T-Mobile,

as required by Q Link’s contract. The Debtor has also thus far declined to answer whether or not

it owns Q Link or has acquired Q Link’s business.

         5.    In addition, on November 25, 2024, counsel for T-Mobile attended the meeting of

creditors under 11 U.S.C. § 341(a) but was unable to meaningfully examine the Debtor at that




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time. The Section 341 examination did not provide answers to these critical questions concerning

the Debtor’s financial condition.

         6.    T-Mobile is therefore seeking discovery into the Debtor’s business practices and

financials. Specifically, T-Mobile is initially seeking information regarding: (a) the

relationships, transfers and financial dealings between the Debtor and its affiliates, which include

PWW, Global Connection Inc. of America, LLC d/b/a StandUp Wireless, X Wireless, LLC, and

Q Link Wireless, LLC; (b) the relationship between the Debtor and its affiliates, on one side, and

Q Link, on the other side, as well as the business dealings among them, including whether any

such companies have acquired Q Link; and (c) whether Greene is engaging in conduct that is

harmful to the interests of the Debtor’s estate and its creditors, which information is critical to

understanding the Debtor’s prepetition conduct, its current financial position, its obligations

owed to T-Mobile and the other creditors, and its ability to reorganize.

                                          JURISDICTION

         7.    Jurisdiction is proper pursuant to 28 U.S.C. §§ 157 and 1334. This is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue in this District is proper pursuant to 28

U.S.C. §§ 1408 and 1409.

         8.    The predicate for the relief requested herein is Rule 2004 of the Federal Rules of

Bankruptcy Procedure.

                                          BACKGROUND

A.       T-Mobile

         9.    T-Mobile, like AT&T and Verizon, is a mobile network operator (“MNO”) that

has invested billions of dollars into its mobile network to offer consumer cellular services

nationwide. T-Mobile enters partnerships with wholesale wireless providers known as mobile



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virtual network operators (“MVNOs”), which allow MVNOs to use T-Mobile’s mobile wireless

network infrastructure at wholesale prices. The MVNOs can then offer cellular service to

consumers. Instead of entering a partnership directly with T-Mobile, or another MNO, some

MVNOs contract with another intermediary, known as an aggregator, or a mobile virtual

network aggregator (“MVNA”), which does partner directly with T-Mobile or another MNO.

The MVNOs that partner with an aggregator tend to be smaller than MVNOs that directly

partner with T-Mobile or other MNOs.

B.       The Debtor

         10.   The Debtor is an aggregator that has contracted with T-Mobile since January 3,

2012 for the use of T-Mobile’s wireless network infrastructure, which the Debtor in turn sells to

MVNOs who then sell to retail customers in the United States. T-Mobile and the Debtor have

amended the contract thirteen times, most recently on June 11, 2022 (as amended, the

“Agreement”). The Debtor contracts to provide wireless network capacity to more than 100

MVNOs.

C.       T-Mobile’s pre-petition interactions with the Debtor

         11.   T-Mobile has encouraged and facilitated the Debtor’s growth and success. For

more than twelve years, T-Mobile and the Debtor have been partners in the provision of wireless

network capacity to MVNOs. When T-Mobile and Sprint merged, T-Mobile undertook the large

project of migrating the MVNOs operating on Sprint’s network to T-Mobile’s network. As part

of that project, T-Mobile encouraged multiple of those Sprint MVNOs to work with the Debtor.




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these discrepancies raise serious questions as to the accuracy of the Debtor’s financial

disclosures.

         20.   Third, discovery into the network of the Debtor’s affiliates is warranted because

the Debtor in its filings with this Court has failed to accurately describe its own business. In the

Debtor’s Motion for Entry of an Order Approving its Cash Management System, the Debtor

asserted that “PWW[] collects revenue from its customers into its operating account [], pays its

vendors, funds payroll to ADP, and then transfers cash upstream on a monthly basis into the

PWG Account in an amount sufficient to cover the invoiced costs of PWG’s vendors and the T-

Mobile contract.” ECF 3 at ¶ 12. Although it appears that PWW does collect revenue from its

vendors, those funds have been transferred elsewhere, including to Greene and his other

companies as described above. Payments to T-Mobile, in turn, do not always flow from cash

transferred from PWW into a Debtor upstream account. Such payments instead may be sourced

from Greene’s other companies.




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                                           Fig 3

         22.   On the same day, PWW received            from SUW:




                                           Fig. 4




                                           Fig. 5




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                                               Fig 6




                                               Fig 7

         25.    The Debtor’s representation to this Court in its Motion for Entry of an Order

Approving its Cash Management System that PWW “transfers cash upstream… in an amount

sufficient to cover” T-Mobile invoices is therefore false. In reality, the amounts that have been

used to pay T-Mobile have come from many sources. More troubling still, the latest financial

disclosures of November 21, 2024 appear to make no mention of these additional, inter-company

transfers. The Debtors’ schedule mentions a loan from an affiliate, Odin Mobile, LLC, but lists

the amount of such loan as “unknown.” Dkt. 54 at 18. Even the amount purportedly owed by

PWG to its operating subsidiary is listed as “unknown.” Id. The failure of the Debtor to

accurately and/or fully describe its own financial condition underscores the need for the

requested Rule 2004 discovery here.

E.       Q Link’s history and status, and its relationship with the Debtor

         26.    Q Link is an MVNO that partnered with T-Mobile to resell cellular services to

consumers. Like the Debtor, Q Link has been a consistently tardy payer in recent years, and is

currently delinquent on several outstanding invoices to T-Mobile. Now, it appears that the

Debtor, Paul Greene, and possibly other entities affiliated with Paul Greene are using Q Link in




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ways that may prevent T-Mobile from recovering what it is owed from both Q Link and the

Debtor.

         27.   Q Link was partnered with Sprint prior to Sprint’s merger with T-Mobile, but

migrated to T-Mobile as part of the merger. Q Link is primarily focused on the “Lifeline”

business. “Lifeline” is a program from the Federal Communications Commission (“FCC”) that

provides low-income subscribers a deep discount on qualifying monthly cellphone service. Q

Link has purchased wireless service from T-Mobile for resale since August 2020.

         28.   T-Mobile is informed and believes that the Debtor and its CEO, Paul Greene, are

interested in Q Link’s business. For the past few months, Greene’s, the Debtor’s, and Greene’s

attorneys have represented to T-Mobile that Greene now represents and speaks for Q Link.

         29.   On or about October 2, 2024, Q Link customers received a message that “Q Link

is now powered by StandUp Wireless [SUW]” (another company operated by Greene) and that Q

Link customers are “free to choose [their] Lifeline provider anytime.”

         30.   However, to date, T-Mobile has not received any official notification of Q Link’s

acquisition or assignment of its contract with T-Mobile, as required by Q Link’s contract. The

Debtor has also thus far declined to answer whether or not it owns Q Link or has acquired Q

Link’s business. At no point has Q Link, the Debtor, SUW, or Greene sought T-Mobile’s

approval for any acquisition of Q Link—which violates § 13.9 (the “Assignment Provision”) of

the Q Link contract with T-Mobile. Indeed, T-Mobile has observed numerous Q Link customers

moving to the Debtor.

         31.   On information and belief, and as suggested by an October 15, 2024 letter from

the Debtor’s non-bankruptcy counsel, David S. Sellman, Q Link/Asad and the Debtor/Greene

have also likely exchanged competitively sensitive and confidential information regarding their



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         39.    Greene’s post-petition conduct is concerning and may be harmful to the interests

of the Debtor’s estate and its creditors, and the Debtor’s ability to continue operating as a going

concern during the pendency of this bankruptcy case.

                                       RELIEF REQUESTED


         40.    Pursuant to Rule 2004, T-Mobile seeks entry of an order of the Court authorizing

T-Mobile to issue Rule 2004 document requests and subpoenas (the “Discovery Requests”)

pursuant to Bankruptcy Rules 2004 and 9016 containing riders substantially in the form annexed

hereto as Exhibit A,1 compelling the Debtor, Paul Greene, Prepaid Wireless Wholesale, LLC,

Global Connection Inc. of America, LLC d/b/a StandUp Wireless, X Wireless, LLC and Q Link

Wireless, LLC to produce documents and provide testimony. Copies of the Discovery Requests

are attached hereto as Exhibits B-G.

                        ARGUMENT AND APPLICABLE AUTHORITY

         41.    Rule 2004(a) provides, that “[o]n motion of any party in interest, the court may

order the examination of any entity.” Further, Rule 2004 permits a bankruptcy court to order the

examination of any person and the production of documentary evidence relating to the “acts,

conduct, or property or to the liabilities and financial condition of the debtor, or to any matter

which may affect the administration of the debtor’s estate.” Fed. R. Bank. P. 2004(b),(c). T-

Mobile, as the estate’s largest creditor, is a party in interest able to request such discovery.

         42.    Rule 2004 “necessarily permits a broad investigation into the financial affairs of

debtors to assure the proper administration of bankruptcy estates.” In re Symington, 209 B.R.

678, 682-84 (Bankr. D. Md. 1997); see also In re Table Talk, Inc., 51 B.R. 143, 145 (Bankr. D.



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 T-Mobile reserves the right to request additional document production prior to issuing its document
requests and subpoenas.

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Mass. 1985) (scope of a 2004 examination is “unfettered and broad”); In re GHR Energy Corp.,

33 B.R. 451, 453 (Bankr. D. Mass. 1983) (2004 examination is allowed for the “purpose of

discovering assets and unearthing frauds” and “to a considerable extent [may be] a fishing

expedition”); In re Countrywide Home Loans, Inc., 384 B.R. 373, 400 (Bankr. W.D. Pa. 2008)

(inquiry into any matter that may affect administration of estate “comfortably falls within the

allowed limits under Rule 2004”); Keene Corp. v. Johns-Manville Corp. (In re Johns-Manville),

42 B.R. 362, 364 (S.D.N.Y. 1984) (2004 examination may “cut a broad swath through the

Debtor’s affairs”). Such broad power furthers the general purpose of Rule 2004, which is to

“assist a party in interest in determining the nature and extent of the bankruptcy estate, revealing

assets, examining transactions and assessing whether wrongdoing has occurred.” In re Recoton

Corp., 307 B.R. 751, 755 (Bankr. S.D.N.Y. 2004) (internal citation omitted); see also In re

Lufkin, 255 B.R. 204, 208 (Bankr. E.D. Tenn. 2000) (purpose of Rule 2004 is to “determine the

condition, extent, and location of the debtor’s estate in order to maximize distribution to

unsecured creditors”).

         43.   Further, by its terms, Rule 2004 contemplates examination not just of the Debtor,

but of non-debtor parties as well. See Fed. R. Bankr. P. 2004(a) and (c) (“On motion of any

party in interest, the court may order the examination of any entity” and compel such witness’s

attendance through a subpoena). Generally, a third party may be examined under Rule 2004 if

he or she possesses knowledge of a debtor’s acts and conduct of financial affairs so far as these

relate to a debtor’s proceeding in bankruptcy, and has or had a relationship (including, for

example, business dealings) with a debtor. See, e.g., In re Symington, 209 B.R. at 90 (granting

motion to examine third party who had knowledge of the debtor’s financial transactions); In re

Valley Forge Plaza Assoc., 109 B.R. 669, 674 (Bankr. E.D. Pa. 1990) (examination allowed



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where the third party has “knowledge of the debtor’s affairs”). A bankruptcy court has the

discretion to authorize the requested discovery. See, e.g., In re Hammond, 140 B.R. 197, 200

(Bankr. S.D. Ohio 1992).

         44.    Courts have acknowledged that Rule 2004 allows for a “fishing expedition” not

limited to a debtor’s agents but extending to creditors and third parties who have had dealings

with a debtor, without the limits as to scope placed upon examinations under the Federal Rules

of Civil Procedure. See In re Wilcher, 56 B.R. 428, 434 (Bankr. N.D. Ill. 1985); see also In re J

& R Trucking, Inc., 431 B.R. 818, 821 (Bankr. N.D. Ind. 2010) (“Unlike traditional discovery,

which narrowly focuses on the issues germane to the dispute, Rule 2004 has been rightly

characterized as a ‘fishing expedition.’ It is a broad-ranging inquiry into the debtor’s assets,

liabilities, financial affairs and anything else that might affect the administration of the

bankruptcy estate.”).

         45.    The relief requested by this Motion is well within the scope of Rule 2004 and well

within the Court’s discretion to grant it. It is crucial for T-Mobile, as the Debtor’s largest

creditor and only secured creditor, to investigate and reach conclusions about the Debtor’s

financial structure, history and plans so that it may properly evaluate the Debtor’s pre-petition

actions and ability to reorganize.

                                      NO PRIOR REQUEST

         46.    No prior request for the relief sought in this Motion has been made to this or any

other court.

         WHEREFORE, T-Mobile respectfully requests that this Court enter an order,

substantially in the form attached as Exhibit A hereto, granting the relief requested therein, and

such other and further relief as this Court deems appropriate.



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Dated: December 5, 2024                Respectfully submitted,



                                       /s/    David Daniels
                                       David Daniels
                                       Perkins Coie LLP
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                                       Washington, DC 20005

                                       David Gold (admitted pro hac vice)
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                                       110 North Wacker Drive, Suite 3400
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                                       Attorneys for T-Mobile USA, Inc.




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on December 5, 2024, a copy of the redacted T-Mobile USA, Inc.’s

Motion for Entry of an Order Authorizing Requests for Production, the Issuance of Subpoenas

for the Production of Documents and the Provision of Testimony Pursuant to Rule 2004 of the

Federal Rules of Bankruptcy Procedure was served electronically by the Court’s CM/ECF

system on the following:

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Irving Edward Walker
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Trustee

                                                     /s/ David Daniels
                                                     David Daniels




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                              Exhibit A




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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MARYLAND
                               GREENBELT DIVISION

 In re                                                    Chapter 11

 Prepaid Wireless Group LLC,                              Case No. 24-18852

                                        Debtor.           Hon. Maria Ellena Chavez-Ruark



        ORDER GRANTING T-MOBILE USA, INC.’S MOTION FOR ENTRY
   OF AN ORDER AUTHORIZING REQUESTS FOR PRODUCTION, THE ISSUANCE
       OF SUBPOENAS FOR THE PRODUCTION OF DOCUMENTS AND THE
           PROVISION OF TESTIMONY PURSUANT TO RULE 2004 OF
            THE FEDERAL RULES OF BANKRUPTCY PROCEDURE


         The relief set forth herein is hereby ORDERED.


         This matter came before the Court on T-Mobile USA, Inc.’s Motion for Entry of an Order

Authorizing Requests for Production, the Issuance of Subpoenas for the Production of

Documents and the Provision of Testimony Pursuant to Rule 2004 of the Federal Rules of

Bankruptcy Procedure (the “Motion”) filed by T-Mobile USA, Inc. (“T-Mobile”). The Court

has reviewed the Motion and finds that (a) the Court has jurisdiction over this matter pursuant to

28 U.S.C. §§ 157 and 1334, (b) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2),

(c) venue of this chapter 11 case in this District is proper pursuant to 28 U.S.C. §§ 1408 and

1409, and (d) notice of the Motion was sufficient under the circumstances. The Court having

determined that the legal and factual bases set forth in the Motion establish cause for the relief

granted herein, and it appearing that the relief requested is in the best interests of the Debtor’s

estate and creditors, and other parties in interest;




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               IT IS HEREBY ORDERED THAT:

               1.      The Motion is GRANTED as set forth herein;

               2.      Pursuant to Bankruptcy Rule 2004, T-Mobile is authorized to serve the

document requests, deposition notices and subpoenas compelling the production of documents

and the provision of testimony (the “Requests”) upon the Debtor, Prepaid Wireless Group LLC

(the “Debtor”), Paul Greene, Prepaid Wireless Wholesale, LLC, Global Connection Inc. of

America, LLC d/b/a StandUp Wireless, X Wireless, LLC and Q Link Wireless, LLC (the

“Respondents”), copies of which are attached hereto as Exhibits B-G;

               3.      T-Mobile is authorized to serve additional document requests to the

Respondents consistent with the scope of the requests attached as Exhibits B-G.

               4.      The Respondents shall produce all responsive non-privileged documents

on a rolling basis and in the matter instructed in respective Requests. Any allegations of

privilege must be supported by a privilege log within the time specified;

               5.      Green and the other Respondents (through designees pursuant to Rule

30(b)(6) of the Federal Rules of Civil Procedure), shall appear for an oral examination at a

deposition no later than 30 days after receiving a subpoena or notice of deposition, as applicable,

unless otherwise agreed to by T-Mobile or ordered by the Court;

               6.      In the event of a discovery dispute relating to the Requests, counsel shall

comply with the Court’s Discovery Guidelines provided in the Local Rules; and

               7.      The Court shall retain jurisdiction to resolve any disputes arising from or

relating to this Order and to interpret, implement, and enforce the provisions of this Order.




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                              Exhibit B




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                                            EXHIBIT B

ATTACHMENT TO PROPOSED SUBPOENA TO PREPAID WIRELESS GROUP, LLC

       Pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure, T-Mobile USA, Inc.

(“T-Mobile”) hereby requests that You (as defined below) serve full and complete responses to

the following requests for the production of documents and produce responsive documents within

twenty-one (21) days after service of these requests.

                                          DEFINITIONS

       1.      “You,” and/or “Your,” means Prepaid Wireless Group, LLC (“PWG”), and any of

its past or present corporate affiliates, divisions, subgroups, subsidiaries (including Prepaid

Wireless Wholesale, LLC, “PWW”), parent corporations, predecessors and successors in interest,

and any past or present officers (such as Mr. Paul Greene), directors, trustees, agents, employees,

servants, consultants, representatives, attorneys, investigators, or entities who are in possession of

or may have obtained information for or on behalf of PWG, or who are acting or purporting to act

on behalf of PWG.


       2.      “This case” or “this action” refer to the above captioned case in which You filed

for Chapter 11 bankruptcy.


       3.      “Confidential Information” shall have the same meaning as defined in the

Wholesale Supply Agreement (“WSA,” defined infra) between T-Mobile and PWG.


       4.      “Communicate” or “communication” shall mean any manner of disclosure,

transfer, exchange, and any disclosure, transfer or exchange of information whether orally or by

document, or whether face to face, by telephone, electronic delivery (including electronic mail and

text messages), mail, facsimile or personal delivery, etc.
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       5.      “Document” or “documents” is used in the broadest possible sense and means,

without limitation, all tangible preservations of information, including writings, recordings, and

photographs, along with all documents or electronically stored information, information preserved

on computers, electronic databases, servers, tablets, phones, or other devices, and any non-

identical copies (whether different from the originals because of notes made on such copies,

because such copies were sent to different individuals, or for any other reason) and drafts. The

term “document” includes, without limitation, any communications, which shall be interpreted in

the broadest manner possible, and shall mean every conceivable manner or means of disclosure,

transfer or exchange of oral or written information between one or more persons or entities.


       6.      “Monitoring Trustee” means Theodore W. Ullyot, including all individuals acting

on his behalf, who was appointed as the trustee overseeing the Department of Justice’s (DOJ)

settlement with T-Mobile related to their acquisition of Sprint Corporation.


       7.      “MVNO”       or   “Mobile    Virtual    Network     Operator”     shall   mean    a

telecommunications service provider that offers mobile communication services to customers but

does not own the wireless network infrastructure over which these services are provided. Instead,

the MVNO enters into a business agreement with a Mobile Network Operator (MNO), such as T-

Mobile, to obtain access to network services at wholesale rates. The MVNO then resells these

services to its own customers under its own brand. MVNOs can also contract with Mobile Virtual

Network Aggregators (MVNAs), such as PWG, to obtain access to network services.


       8.      “Person” means a natural person and, without limitation, firms, partnerships,

corporations, associations, unincorporated associations, organizations, businesses, trusts, public

entities, parent companies, subsidiaries, divisions, departments or other units thereof, and/or any



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other type of legal entity.


        9.      “Regarding” is to be construed broadly and includes anything in connection with,

constituting, concerning, reflecting, referring to, discussing, describing, identifying, stating,

quoting, incorporating, attaching, analyzing, or otherwise relating in any way to the topic identified

in the discovery request.


        10.     “Subscribers” shall mean an individual or entity that has entered into an agreement

with an MVNO to receive mobile telecommunications services. This includes any person or

organization that has activated a mobile device on an MVNO’s network, is assigned a unique

subscriber identity module (SIM) card, and is billed for the services provided by an MVNO. The

term encompasses both prepaid and postpaid customers, regardless of the duration or terms of their

service agreement.


        11.     The “Wholesale Supply Agreement,” or “WSA,” shall refer to the contract in

place between T-Mobile, PWG, and PWW for the provision of wireless communications service.

For the avoidance of doubt, this contract was originally entered into between T-Mobile and “Cintex

Wireless, LLC” on January 23, 2012, was assigned to PWG on September 11, 2013, and has been

amended thirteen (13) times, most recently on June 11, 2022.


        12.     The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of these requests for production all

information and documents that might otherwise be construed to be outside of its scope.


        13.     The singular includes the plural and vice versa. The masculine includes the

feminine and neuter genders. The past tense includes the present tense where the clear meaning is



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not distorted by change of tense.


                                        INSTRUCTIONS

       1.      Unless otherwise specified, the relevant time period for these document requests

(the “Relevant Time Period”) is October 1, 2019 and ongoing.


       2.      These discovery requests are to be answered separately and fully, in writing and

under oath, within twenty-one (21) days of the date of service on You.


       3.      Responsive documents or electronically stored information must be produced in

compliance with any Order regarding the production of electronically stored information that shall

be entered by the Court.


       4.      Any use of search terms or TAR in responding to these Requests must be conducted

in compliance with any Order regarding search methodologies of electronically stored information

that shall be entered by the Court.


       5.      Should You find the meaning of any term, or request for production, to be unclear,

You should assume a reasonable meaning, state what that assumed meaning is, and answer the

request on the basis of that assumed meaning.


       6.      If You object to answering any of these discovery requests or withhold documents

from production in response to the requests for production, in whole or in part, state Your

objections and/or reasons for not responding and/or producing and state all factual and legal

justifications that You believe support your objection or failure to answer or to produce. If You

object to answering only part of a discovery request, specify the part to which You object and

respond to the remainder.


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       7.      If You deem any discovery request to call for privileged information or documents,

and assert privilege to avoid divulging the information or producing the documents for which You

claim privilege, provide a list with respect to each item of information or each document withheld

based on a claim of privilege, stating:


               a. Description of allegedly privileged communication or document withheld;

               b. Persons present during or participating in allegedly privileged communication,
                  or author(s) and recipient(s) of document withheld;

               c. Date of allegedly privileged communication or document withheld;

               d. Subject matter of allegedly privileged communication or document withheld;

               e. Type of document withheld (e.g., letter, memorandum or computer database);

               f. Nature of privilege(s) claimed; and

               g. The paragraph(s) of these discovery requests to which the allegedly privileged
                  communication or document relates.

       8.      These discovery requests are deemed to be continuing in nature, and You are

required to amend or supplement the responses as the above-captioned matter continues.


                                   DOCUMENT REQUESTS

       1.      Your operating agreement, LLC agreement, and/or shareholder agreement,

including any side-letters thereto, and any other agreement memorializing or reflecting ownership

or control of You.


       2.      Your financial reports, including, but not limited to, a copy of each annual,

quarterly, monthly, and/or weekly financial report.


       3.      Your general ledger.


       4.      Any bank statements for any account that is subject to a Cash Management Order.


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       5.      Your federal and state tax returns.


       6.      All K-1s for any of Your owners or members.


       7.      Documents and communications sufficient to show the identity of any auditor of

Your financial statements.


       8.      Any organization chart for You and Your affiliates, including but not limited to

Prepaid Wireless Wholesale, LLC (“PWW”), Global Connection Inc. of America, LLC d/b/a

StandUp Wireless (“StandUp Wireless”), X Wireless, LLC (“X Wireless”), Odin Mobile, LLC

(“Odin Mobile”), and/or Q Link Wireless, LLC (“Q Link”).


       9.      Any agreements between or among You, PWW, StandUp Wireless, X Wireless,

Odin Mobile, Q Link, and/or any entity directly or indirect owned in whole or in part by Paul

Greene.


       10.     With respect to any service provided by T-Mobile, all agreements with any end

user, third party reseller, subscriber or MVNO.


       11.     All documents and communications regarding the creation of PWW.


       12.     All documents and communications regarding the transfer of any assets or

contractual relationships from PWW to You, or from You to PWW.


       13.     All documents and communications regarding intracompany payments or loans

between You and PWW, including without limitation documents and communications regarding

PWW compensation of Your employees, as represented to the Court on November 7, 2024.


       14.     All documents and communications relating to payments or transfers of funds or


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other assets between You and PWW, on the one hand, and, on the other hand, StandUp Wireless,

X Wireless, Q Link, Odin Mobile, Paul Greene, and/or any entity that Mr. Paul Greene directly or

indirectly owns or controls.


       15.     All documents and communications regarding any distributions or transfers by You

or PWW to any of Your direct or indirect owners, including Paul Greene.


       16.     All documents and communications regarding any acquisition of equity in Stand

Up Wireless by GFH1, LLC or Paul Greene.


       17.     All documents and communications regarding any compensation paid by You or

PWW to Paul Greene.


       18.     Documents and communications sufficient to show any commissions paid to

employees, agents, partners, or other persons or entities.


       19.     All documents and communications regarding any payments made for any vehicle

used by Paul Greene.


       20.     All documents and communications with or regarding Q Link, its agent(s), and/or

representative(s) regarding any actual, contemplated, or proposed merger, acquisition, joint

venture, transaction, or other agreement.


       21.     All agreements between You and Paul Greene.


       22.     All documents and communications that refer or relate to the allegations in

Paragraph 10 of Your motion for approval of the use of cash collateral (Dkt. 3), including, but not

limited to, support for Your claim that T-Mobile’s demand for additional security was



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“unjustified.” For the avoidance of doubt, this request includes communications with any third

parties regarding these claims.


       23.     All documents and communications relating to any T-Mobile invoice or payment

under the WSA.


       24.     All audio and video recordings of any telephone call, video conference call, or any

other conversation between You and any representative of T-Mobile.


       25.     All documents and communications regarding the audio or video recording of any

telephone call, video conference call, or any other conversation between You and any

representative of T-Mobile.


       26.     Documents and communications sufficient to show any investigations of You by

any governmental body or agency.


       27.     All documents and communications regarding Your communications with any

governmental body or agency as to Your financial position, Q Link, or any allegation that

T-Mobile adversely impacted Your financial position.


       28.     All communications with Dundon Advisers, LLC.


       29.     All documents provided to the Office of the United States Trustee in this matter.




                                               -8-
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Dated: Washington, D.C.                  /s/    DRAFT
 November ___, 2024                      David Daniels
                                         Perkins Coie LLP
                                         700 13th Street, NW, Suite 600
                                         Washington, DC 20005

                                         David Gold (admitted pro hac vice)
                                         Perkins Coie LLP
                                         110 North Wacker Drive, Suite 3400
                                         Chicago, IL 60606-1511

                                         Attorneys for T-Mobile




                                       -9-
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies under penalty of perjury under the laws of the State of

_______________ that, on _________________, 2024, he/she/they caused to be served on the

person(s) listed below in the manner shown:

       Document Title(s)

       Service List


   ☐     United States Mail, First Class
   ☐     By Messenger
   ☐     By Facsimile
   ☐     By E-Mail


Dated at _____________ [city/state], this ____ day of _________________, 2024.




                                                               Signer Name




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                              Exhibit C




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                                           EXHIBIT C

        ATTACHMENT TO PROPOSED SUBPOENA TO PREPAID WIRELESS

                                      WHOLESALE, LLC

       Pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure, T-Mobile USA, Inc.

(“T-Mobile”) hereby requests that You (as defined below) serve full and complete responses to

the following requests for the production of documents and produce responsive documents within

twenty-one (21) days after service of these requests.

                                         DEFINITIONS

       1.      “You,” and/or “Your,” means Prepaid Wireless Wholesale, LLC (“PWW”), and

any of its past or present corporate affiliates, divisions, subgroups, subsidiaries, parent

corporations (including Prepaid Wireless Group, LLC, “PWG”), predecessors and successors in

interest, and any past or present officers (such as Mr. Paul Greene), directors, trustees, agents,

employees, servants, consultants, representatives, attorneys, investigators, or entities who are in

possession of or may have obtained information for or on behalf of PWW, or who are acting or

purporting to act on behalf of PWW.


       2.      “This case” or “this action” refer to the above captioned case in which PWG filed

for Chapter 11 bankruptcy.


       3.      “Confidential Information” shall have the same meaning as defined in the

Wholesale Supply Agreement (“WSA,” defined infra) between T-Mobile and PWG.


       4.      “Communicate” or “communication” shall mean any manner of disclosure,

transfer, exchange, and any disclosure, transfer or exchange of information whether orally or by

document, or whether face to face, by telephone, electronic delivery (including electronic mail and
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text messages), mail, facsimile or personal delivery, etc.


       5.      “Document” or “documents” is used in the broadest possible sense and means,

without limitation, all tangible preservations of information, including writings, recordings, and

photographs, along with all documents or electronically stored information, information preserved

on computers, electronic databases, servers, tablets, phones, or other devices, and any non-

identical copies (whether different from the originals because of notes made on such copies,

because such copies were sent to different individuals, or for any other reason) and drafts. The

term “document” includes, without limitation, any communications, which shall be interpreted in

the broadest manner possible, and shall mean every conceivable manner or means of disclosure,

transfer or exchange of oral or written information between one or more persons or entities.


       6.      “Monitoring Trustee” means Theodore W. Ullyot, including all individuals acting

on his behalf, who was appointed as the trustee overseeing the Department of Justice’s (DOJ)

settlement with T-Mobile related to their acquisition of Sprint Corporation.


       7.      “MVNO”       or   “Mobile     Virtual    Network    Operator”     shall   mean   a

telecommunications service provider that offers mobile communication services to customers but

does not own the wireless network infrastructure over which these services are provided. Instead,

the MVNO enters into a business agreement with a Mobile Network Operator (MNO), such as T-

Mobile, to obtain access to network services at wholesale rates. The MVNO then resells these

services to its own customers under its own brand. MVNOs can also contract with Mobile Virtual

Network Aggregators (MVNAs), such as PWG, to obtain access to network services.


       8.      “Person” means a natural person and, without limitation, firms, partnerships,

corporations, associations, unincorporated associations, organizations, businesses, trusts, public


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entities, parent companies, subsidiaries, divisions, departments or other units thereof, and/or any

other type of legal entity.


        9.      “Regarding” is to be construed broadly and includes anything in connection with,

constituting, concerning, reflecting, referring to, discussing, describing, identifying, stating,

quoting, incorporating, attaching, analyzing, or otherwise relating in any way to the topic identified

in the discovery request.


        10.     “Subscribers” shall mean an individual or entity that has entered into an agreement

with an MVNO to receive mobile telecommunications services. This includes any person or

organization that has activated a mobile device on an MVNO’s network, is assigned a unique

subscriber identity module (SIM) card, and is billed for the services provided by an MVNO. The

term encompasses both prepaid and postpaid customers, regardless of the duration or terms of their

service agreement.


        11.     The “Wholesale Supply Agreement,” or “WSA,” shall refer to the contract in

place between T-Mobile, PWG, and PWW for the provision of wireless communications service.

For the avoidance of doubt, this contract was originally entered into between T-Mobile and “Cintex

Wireless, LLC” on January 23, 2012, was assigned to PWG on September 11, 2013, and has been

amended thirteen (13) times, most recently on June 11, 2022.


        12.     The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of these requests for production all

information and documents that might otherwise be construed to be outside of its scope.


        13.     The singular includes the plural and vice versa. The masculine includes the



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feminine and neuter genders. The past tense includes the present tense where the clear meaning is

not distorted by change of tense.


                                        INSTRUCTIONS

       1.      Unless otherwise specified, the relevant time period for these document requests

(the “Relevant Time Period”) is October 1, 2019 and ongoing.


       2.      These discovery requests are to be answered separately and fully, in writing and

under oath, within twenty-one (21) days of the date of service on You.


       3.      Responsive documents or electronically stored information must be produced in

compliance with any Order regarding the production of electronically stored information that shall

be entered by the Court.


       4.      Any use of search terms or TAR in responding to these Requests must be conducted

in compliance with any Order regarding search methodologies of electronically stored information

that shall be entered by the Court.


       5.      Should You find the meaning of any term, or request for production, to be unclear,

You should assume a reasonable meaning, state what that assumed meaning is, and answer the

request on the basis of that assumed meaning.


       6.      If You object to answering any of these discovery requests or withhold documents

from production in response to the requests for production, in whole or in part, state Your

objections and/or reasons for not responding and/or producing and state all factual and legal

justifications that You believe support your objection or failure to answer or to produce. If You

object to answering only part of a discovery request, specify the part to which You object and


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respond to the remainder.


       7.      If You deem any discovery request to call for privileged information or documents,

and assert privilege to avoid divulging the information or producing the documents for which You

claim privilege, provide a list with respect to each item of information or each document withheld

based on a claim of privilege, stating:


               a. Description of allegedly privileged communication or document withheld;

               b. Persons present during or participating in allegedly privileged communication,
                  or author(s) and recipient(s) of document withheld;

               c. Date of allegedly privileged communication or document withheld;

               d. Subject matter of allegedly privileged communication or document withheld;

               e. Type of document withheld (e.g., letter, memorandum or computer database);

               f. Nature of privilege(s) claimed; and

               g. The paragraph(s) of these discovery requests to which the allegedly privileged
                  communication or document relates.

       8.      These discovery requests are deemed to be continuing in nature, and You are

required to amend or supplement the responses as the above-captioned matter continues.


                                    DOCUMENT REQUESTS

       1.      Any organization chart for You and Your affiliates, including but not limited to

PWG, Global Connection Inc. of America, LLC d/b/a StandUp Wireless (“StandUp Wireless”), X

Wireless, LLC (“X Wireless”), Odin Mobile, LLC (“Odin Mobile”), and/or Q Link Wireless, LLC

(“Q Link”) as they relate to You.


       2.      Documents and communications sufficient to show the identity, and each role and

affiliation, of all employees and/or contractors who are employed in common by You and one or



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more of PWG, StandUp Wireless, X Wireless, Odin Mobile, and/or Q Link.


       3.      All documents and communications relating to payments or transfers of funds or

other assets between You and PWG, on the one hand, and, on the other hand, StandUp Wireless,

X Wireless, Odin Mobile, Q Link, Mr. Paul Greene, and/or any entity that Mr. Paul Greene directly

or indirectly owns or controls.


       4.      All documents and communications regarding the transfer of any assets or

contractual relationships from PWG to You, or from You to PWG.


       5.      Any intercompany loan agreements between PWW and PWG.


       6.      All documents and communications regarding any distributions or transfers by You

or PWG to any of Your direct or indirect owners, including Paul Greene.


       7.      All documents and communications regarding any acquisition of equity in StandUp

Wireless by GFH1, LLC or Paul Greene.


       8.      All documents and communications regarding any compensation paid by You or

PWG to Paul Greene


       9.      Documents and communications sufficient to show any commissions paid to

employees, agents, partners, or other persons or entities.


       10.     All documents and communications regarding any payments made for any vehicle

used by Paul Greene.


       11.     All agreements between You and Paul Greene.




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       12.     All documents and communications regarding intracompany payments between

PWG and You, including without limitation documents and communications regarding Your

compensation of PWG employees, as represented to the Court on November 7, 2024.


       13.     Your financial reports, including, but not limited to, a copy of each annual,

quarterly, monthly, and/or weekly financial report.


       14.     Your general ledger.


       15.     Any bank statements for any account that is subject to a Cash Management Order.


       16.     Your federal and state tax returns.


       17.     All K-1s for any of Your owners or members.


       18.     Documents and communications sufficient to show the identity of any auditor of

Your financial statements.


       19.     Documents and communications sufficient to show all Your agreements with

Subscribers, customers, and/or corporate affiliates that refer to and/or include as a party PWG,

StandUp Wireless, X Wireless, and/or Q Link.


       20.     Your operating agreement, LLC agreement, and/or shareholder agreement,

including any side-letters thereto, and any other agreement memorializing or reflecting ownership

or control of You.


       21.     Any agreements between or among You, PWG, StandUp Wireless, X Wireless,

Odin Mobile, Q Link, and/or any entity directly or indirectly owned in whole or in part by Paul

Greene.


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       22.     With respect to any service provided by T-Mobile, all agreements with any end

user, third party reseller, Subscriber, or MVNO.


       23.     All documents and communications relating to any T-Mobile invoice or payment

under the WSA.


       24.     All documents and communications regarding the creation of PWW.


       25.     All documents and communications with or regarding Q Link, its agent(s), and/or

representative(s) regarding any actual, contemplated, or proposed merger, acquisition, joint

venture, transaction, or other agreement.


       26.     All audio and video recordings of any telephone call, video conference call, or any

other conversation between You and any representative of T-Mobile.


       27.     All documents and communications regarding the audio or video recording of any

telephone call, video conference call, or any other conversation between You and any

representative of T-Mobile.


       28.     Documents and communications sufficient to show any investigations of You by

any governmental body or agency.


       29.     All documents and communications regarding Your communications with any

governmental body or agency as to Your financial position, Q Link, or any allegation that

T-Mobile adversely impacted Your financial position.


       30.     All communications with Dundon Advisers, LLC.


       31.     All documents provided to the Office of the United States Trustee in this matter.


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Dated: Washington, D.C.                  /s/    DRAFT
 November ___, 2024                      David Daniels
                                         Perkins Coie LLP
                                         700 13th Street, NW, Suite 600
                                         Washington, DC 20005

                                         David Gold (admitted pro hac vice)
                                         Perkins Coie LLP
                                         110 North Wacker Drive, Suite 3400
                                         Chicago, IL 60606-1511

                                         Attorneys for T-Mobile USA, Inc.




                                       -9-
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies under penalty of perjury under the laws of the State of

_______________ that, on _________________, 2024, he/she/they caused to be served on the

person(s) listed below in the manner shown:

       Document Title(s)

       ServiceList


   ☐     United States Mail, First Class
   ☐     By Messenger
   ☐     By Facsimile
   ☐     By E-Mail


Dated at _____________ [city/state], this ____ day of _________________, 2024.




                                                               Signer Name




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                              Exhibit D




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                                                EXHIBIT D

             ATTACHMENT TO PROPOSED SUBPOENA TO PAUL GREENE

        Pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure, T-Mobile USA,

Inc. (“T-Mobile”) hereby requests that You (as defined below) serve full and complete responses

to the following requests for the production of documents and produce responsive documents

within twenty-one (21) days after service of these requests.

                                             DEFINITIONS

        1.      “You,” and/or “Your,” means the individual Mr. Paul Greene, including any

agents, representatives, employees, attorneys, or any other persons or entities acting or purporting

to act on Mr. Greene’s behalf, as well as any entities in which Mr. Greene has a controlling interest

or exercises control, directly or indirectly.


        2.      “This case” or “this action” refers to the captioned case on the form accompanying

this attachment in which Prepaid Wireless Group, LLC (“PWG”)1 filed for Chapter 11 bankruptcy.


        3.      “Confidential Information” shall have the same meaning as defined in the

Wholesale Supply Agreement (“WSA,” defined infra) between T-Mobile and PWG.


        4.      “Communicate” or “communication” shall mean any manner of disclosure,

transfer, exchange, and any disclosure, transfer or exchange of information whether orally or by

document, or whether face to face, by telephone, electronic delivery (including electronic mail and

text messages), mail, facsimile or personal delivery, etc.


        5.      “Document” or “documents” is used in the broadest possible sense and means,



1
 For the avoidance of doubt, in these Requests “Prepaid Wireless Group, LLC” or “PWG” shall also encompass any
subsidiaries or affiliates of PWG, including Prepaid Wireless Wholesale, LLC (“PWW”).
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without limitation, all tangible preservations of information, including writings, recordings, and

photographs, along with all documents or electronically stored information, information preserved

on computers, electronic databases, servers, tablets, phones, or other devices, and any non-

identical copies (whether different from the originals because of notes made on such copies,

because such copies were sent to different individuals, or for any other reason) and drafts. The

term “document” includes, without limitation, any communications, which shall be interpreted in

the broadest manner possible, and shall mean every conceivable manner or means of disclosure,

transfer or exchange of oral or written information between one or more persons or entities.


        6.      “Monitoring Trustee” means Theodore W. Ullyot, including all individuals acting

on his behalf, who was appointed as the trustee overseeing the Department of Justice’s (DOJ)

settlement with T-Mobile related to their acquisition of Sprint Corporation.


        7.      “MVNO”        or   “Mobile   Virtual   Network     Operator”     shall   mean    a

telecommunications service provider that offers mobile communication services to customers but

does not own the wireless network infrastructure over which these services are provided. Instead,

the MVNO enters into a business agreement with a Mobile Network Operator (MNO), such as T-

Mobile, to obtain access to network services at wholesale rates. The MVNO then resells these

services to its own customers under its own brand. MVNOs can also contract with Mobile Virtual

Network Aggregators (MVNAs), such as PWG, to obtain access to network services.


        8.      “Person” means a natural person and, without limitation, firms, partnerships,

corporations, associations, unincorporated associations, organizations, businesses, trusts, public

entities, parent companies, subsidiaries, divisions, departments or other units thereof, and/or any

other type of legal entity.



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       9.      “Regarding” is to be construed broadly and includes anything in connection with,

constituting, concerning, reflecting, referring to, discussing, describing, identifying, stating,

quoting, incorporating, attaching, analyzing, or otherwise relating in any way to the topic identified

in the discovery request.


       10.     “Subscribers” shall mean an individual or entity that has entered into an agreement

with an MVNO to receive mobile telecommunications services. This includes any person or

organization that has activated a mobile device on an MVNO’s network, is assigned a unique

subscriber identity module (SIM) card, and is billed for the services provided by an MVNO. The

term encompasses both prepaid and postpaid customers, regardless of the duration or terms of their

service agreement.


       11.     The “Wholesale Supply Agreement,” or “WSA,” shall refer to the contract in

place between T-Mobile, PWG, and PWW for the provision of wireless communications service.

For the avoidance of doubt, this contract was originally entered into between T-Mobile and “Cintex

Wireless, LLC” on January 23, 2012, was assigned to PWG on September 11, 2013, and has been

amended thirteen (13) times, most recently on June 11, 2022.


       12.     The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of these requests for production all

information and documents that might otherwise be construed to be outside of its scope.


       13.     The singular includes the plural and vice versa. The masculine includes the

feminine and neuter genders. The past tense includes the present tense where the clear meaning is

not distorted by change of tense.




                                                 -3-
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                                        INSTRUCTIONS

       1.      Unless otherwise specified, the relevant time period for these document requests

(the “Relevant Time Period”) is October 1, 2019 and ongoing.


       2.      These discovery requests are to be answered separately and fully, in writing and

under oath, within twenty-one (21) days of the date of service on You.


       3.      Responsive documents or electronically stored information must be produced in

compliance with any Order regarding the production of electronically stored information that shall

be entered by the Court.


       4.      Any use of search terms or TAR in responding to these Requests must be conducted

in compliance with any Order regarding search methodologies of electronically stored information

that shall be entered by the Court.


       5.      Should You find the meaning of any term, or request for production, to be unclear,

You should assume a reasonable meaning, state what that assumed meaning is, and answer the

request on the basis of that assumed meaning.


       6.      If You object to answering any of these discovery requests or withhold documents

from production in response to the requests for production, in whole or in part, state Your

objections and/or reasons for not responding and/or producing and state all factual and legal

justifications that You believe support your objection or failure to answer or to produce. If You

object to answering only part of a discovery request, specify the part to which You object and

respond to the remainder.


       7.      If You deem any discovery request to call for privileged information or documents,


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and assert privilege to avoid divulging the information or producing the documents for which You

claim privilege, provide a list with respect to each item of information or each document withheld

based on a claim of privilege, stating:


               a. Description of allegedly privileged communication or document withheld;

               b. Persons present during or participating in allegedly privileged communication,
                  or author(s) and recipient(s) of document withheld;

               c. Date of allegedly privileged communication or document withheld;

               d. Subject matter of allegedly privileged communication or document withheld;

               e. Type of document withheld (e.g., letter, memorandum or computer database);

               f. Nature of privilege(s) claimed; and

               g. The paragraph(s) of these discovery requests to which the allegedly privileged
                  communication or document relates.

       8.      These discovery requests are deemed to be continuing in nature, and You are

required to amend or supplement the responses as the above-captioned matter continues.


                                   DOCUMENT REQUESTS

       1.      Documents and communications sufficient to show Your employment by,

ownership of, and/or affiliation with PWG, Prepaid Wireless Wholesale, LLC (“PWW”) Global

Connection Inc. of America, LLC d/b/a StandUp Wireless (“StandUp Wireless”), X Wireless, LLC

(“X Wireless”), Odin Mobile, LLC (“Odin Mobile”), and/or Q Link Wireless, LLC (“Q Link”).


       2.      All documents and communications relating to payments or transfers of funds or

other assets between You and PWG, PWW, StandUp Wireless, X Wireless, Odin Mobile, and/or

Q Link.


       3.      All documents and communications relating to any purchase of stock in StandUp



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Wireless.


       4.      Documents      and   communications    sufficient   to   show   any   employment

compensation, and its purpose, You received from PWG, PWW, StandUp Wireless, X Wireless,

Odin Mobile, and/or Q Link.


       5.      All documents and communications with or regarding Q Link, its agent(s), and/or

representative(s) regarding any actual, contemplated, or proposed merger, acquisition, joint

venture, transaction, or other agreement.


       6.      All audio and video recordings of any telephone call, video conference call, or any

other conversation between You and any representative of T-Mobile.


       7.      All documents and communications regarding the audio or video recording of any

telephone call, video conference call, or any other conversation between You and any

representative of T-Mobile.


       8.      Documents and communications sufficient to show any investigations of You by

any governmental body or agency.


       9.      All documents and communications that have passed between You and any

governmental body or agency related to Q Link.




                                               -6-
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Dated: Washington, D.C.                         /s/    DRAFT
 November ___, 2024                             David Daniels
                                                Perkins Coie LLP
                                                700 13th Street, NW, Suite 600
                                                Washington, DC 20005

                                                David Gold (admitted pro hac vice)
                                                Perkins Coie LLP
                                                110 North Wacker Drive, Suite 3400
                                                Chicago, IL 60606-1511

                                                Attorneys for T-Mobile




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies under penalty of perjury under the laws of the State of

_______________ that, on _________________, 2024, he/she/they caused to be served on the

person(s) listed below in the manner shown:

       Document Title(s)

       Service List


   ☐     United States Mail, First Class
   ☐     By Messenger
   ☐     By Facsimile
   ☐     By E-Mail


Dated at _____________ [city/state], this ____ day of _________________, 2024.




                                                               Signer Name




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                              Exhibit E




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                                               EXHIBIT E

             ATTACHMENT TO PROPOSED SUBPOENA TO Q LINK WIRELESS

        Pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure, T-Mobile USA, Inc.

(“T-Mobile”) hereby requests that You (as defined below) serve full and complete responses to

the following requests for the production of documents and produce responsive documents within

twenty-one (21) days after service of these requests.

                                             DEFINITIONS

        1.      “You,” and/or “Your,” means Q Link Wireless, LLC (“Q Link”), and any of its

past or present corporate affiliates, divisions, subgroups, subsidiaries, parent corporations,

predecessors and successors in interest, and any past or present officers, directors, trustees, agents,

employees, servants, consultants, representatives, attorneys, investigators, or entities who are in

possession of or may have obtained information for or on behalf of Q Link, or who are acting or

purporting to act on behalf of Q Link.


        2.      “This case” or “this action” refers to the captioned case on the form accompanying

this attachment in which Prepaid Wireless Group, LLC (“PWG”)1 filed for Chapter 11 bankruptcy.


        3.      “Confidential Information” shall have the same meaning as defined in the

Wireless Wholesale Master Services Agreement (“MSA,” defined infra) between T-Mobile and Q

Link.


        4.      “Communicate” or “communication” shall mean any manner of disclosure,

transfer, exchange, and any disclosure, transfer or exchange of information whether orally or by



1
 For the avoidance of doubt, in these Requests “Prepaid Wireless Group, LLC” or “PWG” shall also encompass any
subsidiaries or affiliates of PWG, including Prepaid Wireless Wholesale, LLC (“PWW”).
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document, or whether face to face, by telephone, electronic delivery (including electronic mail and

text messages), mail, facsimile or personal delivery, etc.


       5.      “Document” or “documents” is used in the broadest possible sense and means,

without limitation, all tangible preservations of information, including writings, recordings, and

photographs, along with all documents or electronically stored information, information preserved

on computers, electronic databases, servers, tablets, phones, or other devices, and any non-

identical copies (whether different from the originals because of notes made on such copies,

because such copies were sent to different individuals, or for any other reason) and drafts. The

term “document” includes, without limitation, any communications, which shall be interpreted in

the broadest manner possible, and shall mean every conceivable manner or means of disclosure,

transfer or exchange of oral or written information between one or more persons or entities.


       6.      “Monitoring Trustee” means Theodore W. Ullyot, including all individuals acting

on his behalf, who was appointed as the trustee overseeing the Department of Justice’s (DOJ)

settlement with T-Mobile related to their acquisition of Sprint Corporation.


       7.      “MVNO”       or   “Mobile     Virtual    Network    Operator”     shall   mean    a

telecommunications service provider that offers mobile communication services to customers but

does not own the wireless network infrastructure over which these services are provided. Instead,

the MVNO enters into a business agreement with a Mobile Network Operator (MNO), such as T-

Mobile, to obtain access to network services at wholesale rates. The MVNO then resells these

services to its own customers under its own brand. MVNOs can also contract with Mobile Virtual

Network Aggregators (MVNAs), such as PWG, to obtain access to network services.


       8.      “Person” means a natural person and, without limitation, firms, partnerships,


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corporations, associations, unincorporated associations, organizations, businesses, trusts, public

entities, parent companies, subsidiaries, divisions, departments or other units thereof, and/or any

other type of legal entity.


        9.      “Regarding” is to be construed broadly and includes anything in connection with,

constituting, concerning, reflecting, referring to, discussing, describing, identifying, stating,

quoting, incorporating, attaching, analyzing, or otherwise relating in any way to the topic identified

in the discovery request.


        10.     “Subscribers” shall mean an individual or entity that has entered into an agreement

with an MVNO to receive mobile telecommunications services. This includes any person or

organization that has activated a mobile device on an MVNO’s network, is assigned a unique

subscriber identity module (SIM) card, and is billed for the services provided by an MVNO. The

term encompasses both prepaid and postpaid customers, regardless of the duration or terms of their

service agreement.


        11.     The “Wireless Wholesale Master Services Agreement,” or “MSA,” shall refer to

the contract in place between T-Mobile and Q Link for the provision of wireless communications

service. For the avoidance of doubt, this contract was originally entered into between T-Mobile

and Q Link on August 24, 2020, and has been amended one time, on July 6, 2022.


        12.     The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of these requests for production all

information and documents that might otherwise be construed to be outside of its scope.


        13.     The singular includes the plural and vice versa. The masculine includes the



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feminine and neuter genders. The past tense includes the present tense where the clear meaning is

not distorted by change of tense.


                                        INSTRUCTIONS

       1.      Unless otherwise specified, the relevant time period for these document requests

(the “Relevant Time Period”) is October 1, 2019 and ongoing.


       2.      These discovery requests are to be answered separately and fully, in writing and

under oath, within twenty-one (21) days of the date of service on You.


       3.      Responsive documents or electronically stored information must be produced in

compliance with any Order regarding the production of electronically stored information that shall

be entered by the Court.


       4.      Any use of search terms or TAR in responding to these Requests must be conducted

in compliance with any Order regarding search methodologies of electronically stored information

that shall be entered by the Court.


       5.      Should You find the meaning of any term, or request for production, to be unclear,

You should assume a reasonable meaning, state what that assumed meaning is, and answer the

request on the basis of that assumed meaning.


       6.      If You object to answering any of these discovery requests or withhold documents

from production in response to the requests for production, in whole or in part, state Your

objections and/or reasons for not responding and/or producing and state all factual and legal

justifications that You believe support your objection or failure to answer or to produce. If You

object to answering only part of a discovery request, specify the part to which You object and


                                                -4-
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respond to the remainder.


        7.      If You deem any discovery request to call for privileged information or documents,

and assert privilege to avoid divulging the information or producing the documents for which You

claim privilege, provide a list with respect to each item of information or each document withheld

based on a claim of privilege, stating:


                a. Description of allegedly privileged communication or document withheld;

                b. Persons present during or participating in allegedly privileged communication,
                   or author(s) and recipient(s) of document withheld;

                c. Date of allegedly privileged communication or document withheld;

                d. Subject matter of allegedly privileged communication or document withheld;

                e. Type of document withheld (e.g., letter, memorandum or computer database);

                f. Nature of privilege(s) claimed; and

                g. The paragraph(s) of these discovery requests to which the allegedly privileged
                   communication or document relates.

        8.      These discovery requests are deemed to be continuing in nature, and You are

required to amend or supplement the responses as the above-captioned matter continues.


                                   DOCUMENT REQUESTS

        1.      An organization chart showing Your current corporate structure and/or corporate

affiliations.


        2.      Any operating agreement, shareholder agreement, or similar agreement reflecting

or memorializing Your ownership structure.


        3.      Documents and communications sufficient to show the identity, and each role and

affiliation, of all employees and/or contractors who are employed in common by You and one or


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more of PWG, PWW, Global Connection Inc. of America, LLC d/b/a StandUp Wireless

(“StandUp Wireless”), Odin Mobile, LLC (“Odin Mobile”), and/or X Wireless, LLC (“X

Wireless”).


       4.      Documents and communications sufficient to show all payments or transfers of

funds or other assets, and their purpose, between You and Paul Greene, and/or any entities that he

is affiliated with, including PWG, PWW, StandUp Wireless, Odin Mobile, and X Wireless.


       5.      Any actual or proposed agreement between You and Paul Greene.


       6.      All documents and communications concerning any actual or proposed agreement

between You and Paul Greene and/or any entity under his control, including PWG, PWW,

StandUp Wireless, Odin Mobile and X Wireless.


       7.      Your financial reports, including, but not limited to, a copy of each annual,

quarterly, monthly, and/or weekly financial report.


       8.      Documents and communications sufficient to show all Your agreements with

Subscribers, customers, and/or corporate affiliates that refer to and/or include as a party PWG,

PWW, StandUp Wireless, Odin Mobile, and/or X Wireless.


       9.      All documents and communications regarding attempts to acquire You, and/or

Your assets, and/or Your Subscribers, by PWG, PWW, StandUp Wireless, X Wireless, Odin

Mobile, Paul Greene, and/or any entities that Mr. Paul Greene is in any way affiliated with.




                                               -6-
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Dated: Washington, D.C.                  /s/    DRAFT
 November ___, 2024                      David Daniels
                                         Perkins Coie LLP
                                         700 13th Street, NW, Suite 600
                                         Washington, DC 20005

                                         David Gold (admitted pro hac vice)
                                         Perkins Coie LLP
                                         110 North Wacker Drive, Suite 3400
                                         Chicago, IL 60606-1511

                                         Attorneys for T-Mobile




                                       -7-
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies under penalty of perjury under the laws of the State of

_______________ that, on _________________, 2024, he/she/they caused to be served on the

person(s) listed below in the manner shown:

       Document Title(s)

       Service List


   ☐     United States Mail, First Class
   ☐     By Messenger
   ☐     By Facsimile
   ☐     By E-Mail


Dated at _____________ [city/state], this ____ day of _________________, 2024.




                                                               Signer Name




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                              Exhibit F




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                                               EXHIBIT F

              ATTACHMENT TO PROPOSED SUBPOENA TO X WIRELESS

        Pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure, T-Mobile USA, Inc.

(“T-Mobile”) hereby requests that You (as defined below) serve full and complete responses to

the following requests for the production of documents and produce responsive documents within

twenty-one (21) days after service of these requests.

                                             DEFINITIONS

        1.      “You,” and/or “Your,” means X Wireless, LLC (“X Wireless”), and any of its past

or present corporate affiliates, divisions, subgroups, subsidiaries, parent corporations, predecessors

and successors in interest, and any past or present officers, directors, trustees, agents, employees,

servants, consultants, representatives, attorneys, investigators, or entities who are in possession of

or may have obtained information for or on behalf of X Wireless, or who are acting or purporting

to act on behalf of X Wireless.


        2.      “This case” or “this action” refers to the captioned case on the form accompanying

this attachment in which Prepaid Wireless Group, LLC (“PWG”)1 filed for Chapter 11 bankruptcy.


        3.      “Communicate” or “communication” shall mean any manner of disclosure,

transfer, exchange, and any disclosure, transfer or exchange of information whether orally or by

document, or whether face to face, by telephone, electronic delivery (including electronic mail and

text messages), mail, facsimile or personal delivery, etc.


        4.      “Document” or “documents” is used in the broadest possible sense and means,



1
 For the avoidance of doubt, in these Requests “Prepaid Wireless Group, LLC” or “PWG” shall also encompass any
subsidiaries or affiliates of PWG, including Prepaid Wireless Wholesale, LLC (“PWW”).
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without limitation, all tangible preservations of information, including writings, recordings, and

photographs, along with all documents or electronically stored information, information preserved

on computers, electronic databases, servers, tablets, phones, or other devices, and any non-

identical copies (whether different from the originals because of notes made on such copies,

because such copies were sent to different individuals, or for any other reason) and drafts. The

term “document” includes, without limitation, any communications, which shall be interpreted in

the broadest manner possible, and shall mean every conceivable manner or means of disclosure,

transfer or exchange of oral or written information between one or more persons or entities.


        5.      “Monitoring Trustee” means Theodore W. Ullyot, including all individuals acting

on his behalf, who was appointed as the trustee overseeing the Department of Justice’s (DOJ)

settlement with T-Mobile related to their acquisition of Sprint Corporation.


        6.      “MVNO”        or   “Mobile   Virtual   Network     Operator”     shall   mean    a

telecommunications service provider that offers mobile communication services to customers but

does not own the wireless network infrastructure over which these services are provided. Instead,

the MVNO enters into a business agreement with a Mobile Network Operator (MNO), such as T-

Mobile, to obtain access to network services at wholesale rates. The MVNO then resells these

services to its own customers under its own brand. MVNOs can also contract with Mobile Virtual

Network Aggregators (MVNAs), such as PWG, to obtain access to network services.


        7.      “Person” means a natural person and, without limitation, firms, partnerships,

corporations, associations, unincorporated associations, organizations, businesses, trusts, public

entities, parent companies, subsidiaries, divisions, departments or other units thereof, and/or any

other type of legal entity.



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       8.      “Regarding” is to be construed broadly and includes anything in connection with,

constituting, concerning, reflecting, referring to, discussing, describing, identifying, stating,

quoting, incorporating, attaching, analyzing, or otherwise relating in any way to the topic identified

in the discovery request.


       9.      “Subscribers” shall mean an individual or entity that has entered into an agreement

with an MVNO to receive mobile telecommunications services. This includes any person or

organization that has activated a mobile device on an MVNO’s network, is assigned a unique

subscriber identity module (SIM) card, and is billed for the services provided by an MVNO. The

term encompasses both prepaid and postpaid customers, regardless of the duration or terms of their

service agreement.


       10.     The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of these requests for production all

information and documents that might otherwise be construed to be outside of its scope.


       11.     The singular includes the plural and vice versa. The masculine includes the

feminine and neuter genders. The past tense includes the present tense where the clear meaning is

not distorted by change of tense.


                                         INSTRUCTIONS

       1.      Unless otherwise specified, the relevant time period for these document requests

(the “Relevant Time Period”) is October 1, 2019 and ongoing.


       2.      These discovery requests are to be answered separately and fully, in writing and

under oath, within twenty-one (21) days of the date of service on You.



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       3.      Responsive documents or electronically stored information must be produced in

compliance with any Order regarding the production of electronically stored information that shall

be entered by the Court.


       4.      Any use of search terms or TAR in responding to these Requests must be conducted

in compliance with any Order regarding search methodologies of electronically stored information

that shall be entered by the Court.


       5.      Should You find the meaning of any term, or request for production, to be unclear,

You should assume a reasonable meaning, state what that assumed meaning is, and answer the

request on the basis of that assumed meaning.


       6.      If You object to answering any of these discovery requests or withhold documents

from production in response to the requests for production, in whole or in part, state Your

objections and/or reasons for not responding and/or producing and state all factual and legal

justifications that You believe support your objection or failure to answer or to produce. If You

object to answering only part of a discovery request, specify the part to which You object and

respond to the remainder.


       7.      If You deem any discovery request to call for privileged information or documents,

and assert privilege to avoid divulging the information or producing the documents for which You

claim privilege, provide a list with respect to each item of information or each document withheld

based on a claim of privilege, stating:


               a. Description of allegedly privileged communication or document withheld;

               b. Persons present during or participating in allegedly privileged communication,
                  or author(s) and recipient(s) of document withheld;


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                c. Date of allegedly privileged communication or document withheld;

                d. Subject matter of allegedly privileged communication or document withheld;

                e. Type of document withheld (e.g., letter, memorandum or computer database);

                f. Nature of privilege(s) claimed; and

                g. The paragraph(s) of these discovery requests to which the allegedly privileged
                   communication or document relates.

          8.    These discovery requests are deemed to be continuing in nature, and You are

required to amend or supplement the responses as the above-captioned matter continues.


                                   DOCUMENT REQUESTS

          1.    An organization chart showing Your current corporate structure and/or corporate

affiliations.


          2.    Any operating agreement, shareholder agreement, or similar agreement reflecting

or memorializing Your ownership structure.


          3.    Documents and communications sufficient to show the identity, and each role and

affiliation, of all employees and/or contractors who are employed in common by You and one or

more of PWG, PWW, Global Connection Inc. of America, LLC d/b/a StandUp Wireless

(“StandUp Wireless”), Odin Mobile, LLC (“Odin Mobile”), and Q Link Wireless, LLC (“Q

Link”).


          4.    All documents and communications relating to payments or transfers of funds or

other assets between You and Paul Greene, and/or any entities that he is affiliated with, including

PWG, PWW, StandUp Wireless, and Q Link.


          5.    All documents and communications relating to any loan between You and PWG



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and/or PWW.


       6.      Any actual or proposed agreement between You and Paul Greene.


       7.      All documents and communications concerning any actual or proposed agreement

between You and Paul Greene and/or any entity under his control, including PWG, PWW,

StandUp Wireless, Odin Mobile, and Q Link.


       8.      Your financial reports, including, but not limited to, a copy of each annual,

quarterly, monthly, and/or weekly financial report.


       9.      Documents and communications sufficient to show all Your agreements with

Subscribers, customers, and/or corporate affiliates that refer to and/or include as a party PWG,

PWW, StandUp Wireless, Odin Mobile, and/or X Wireless.


Dated: Washington, D.C.                           /s/    DRAFT
 November ___, 2024                               David Daniels
                                                  Perkins Coie LLP
                                                  700 13th Street, NW, Suite 600
                                                  Washington, DC 20005

                                                  David Gold (admitted pro hac vice)
                                                  Perkins Coie LLP
                                                  110 North Wacker Drive, Suite 3400
                                                  Chicago, IL 60606-1511

                                                 Attorneys for T-Mobile




                                               -6-
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies under penalty of perjury under the laws of the State of

_______________ that, on _________________, 2024, he/she/they caused to be served on the

person(s) listed below in the manner shown:

       Document Title(s)

       Service List


   ☐     United States Mail, First Class
   ☐     By Messenger
   ☐     By Facsimile
   ☐     By E-Mail


Dated at _____________ [city/state], this ____ day of _________________, 2024.




                                                               Signer Name




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                              Exhibit G




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                                               EXHIBIT G

         ATTACHMENT TO PROPOSED SUBPOENA TO STANDUP WIRELESS

        Pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure, T-Mobile USA, Inc.

(“T-Mobile”) hereby requests that You (as defined below) serve full and complete responses to

the following requests for the production of documents and produce responsive documents within

twenty-one (21) days after service of these requests.

                                             DEFINITIONS

        1.      “You,” and/or “Your,” means Global Connection Inc. of America, LLC d/b/a

StandUp Wireless (“StandUp Wireless”), and any of its past or present corporate affiliates,

divisions, subgroups, subsidiaries, parent corporations, predecessors and successors in interest,

and any past or present officers, directors, trustees, agents, employees, servants, consultants,

representatives, attorneys, investigators, or entities who are in possession of or may have obtained

information for or on behalf of StandUp Wireless, or who are acting or purporting to act on behalf

of StandUp Wireless.


        2.      “This case” or “this action” refers to the captioned case on the form accompanying

this attachment in which Prepaid Wireless Group, LLC (“PWG”)1 filed for Chapter 11 bankruptcy.


        3.      “Communicate” or “communication” shall mean any manner of disclosure,

transfer, exchange, and any disclosure, transfer or exchange of information whether orally or by

document, or whether face to face, by telephone, electronic delivery (including electronic mail and

text messages), mail, facsimile or personal delivery, etc.




1
 For the avoidance of doubt, in these Requests “Prepaid Wireless Group, LLC” or “PWG” shall also encompass any
subsidiaries or affiliates of PWG, including Prepaid Wireless Wholesale, LLC (“PWW”).
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       4.      “Document” or “documents” is used in the broadest possible sense and means,

without limitation, all tangible preservations of information, including writings, recordings, and

photographs, along with all documents or electronically stored information, information preserved

on computers, electronic databases, servers, tablets, phones, or other devices, and any non-

identical copies (whether different from the originals because of notes made on such copies,

because such copies were sent to different individuals, or for any other reason) and drafts. The

term “document” includes, without limitation, any communications, which shall be interpreted in

the broadest manner possible, and shall mean every conceivable manner or means of disclosure,

transfer or exchange of oral or written information between one or more persons or entities.


       5.      “Monitoring Trustee” means Theodore W. Ullyot, including all individuals acting

on his behalf, who was appointed as the trustee overseeing the Department of Justice’s (DOJ)

settlement with T-Mobile related to their acquisition of Sprint Corporation.


       6.      “MVNO”       or   “Mobile    Virtual    Network     Operator”     shall   mean    a

telecommunications service provider that offers mobile communication services to customers but

does not own the wireless network infrastructure over which these services are provided. Instead,

the MVNO enters into a business agreement with a Mobile Network Operator (MNO), such as T-

Mobile, to obtain access to network services at wholesale rates. The MVNO then resells these

services to its own customers under its own brand. MVNOs can also contract with Mobile Virtual

Network Aggregators (MVNAs), such as PWG, to obtain access to network services.


       7.      “Person” means a natural person and, without limitation, firms, partnerships,

corporations, associations, unincorporated associations, organizations, businesses, trusts, public

entities, parent companies, subsidiaries, divisions, departments or other units thereof, and/or any



                                                -2-
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other type of legal entity.


        8.      “Regarding” is to be construed broadly and includes anything in connection with,

constituting, concerning, reflecting, referring to, discussing, describing, identifying, stating,

quoting, incorporating, attaching, analyzing, or otherwise relating in any way to the topic identified

in the discovery request.


        9.      “Subscribers” shall mean an individual or entity that has entered into an agreement

with an MVNO to receive mobile telecommunications services. This includes any person or

organization that has activated a mobile device on an MVNO’s network, is assigned a unique

subscriber identity module (SIM) card, and is billed for the services provided by an MVNO. The

term encompasses both prepaid and postpaid customers, regardless of the duration or terms of their

service agreement.


        10.     The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of these requests for production all

information and documents that might otherwise be construed to be outside of its scope.


        11.     The singular includes the plural and vice versa. The masculine includes the

feminine and neuter genders. The past tense includes the present tense where the clear meaning is

not distorted by change of tense.


                                         INSTRUCTIONS

        1.      Unless otherwise specified, the relevant time period for these document requests

(the “Relevant Time Period”) is October 1, 2019 and ongoing.


        2.      These discovery requests are to be answered separately and fully, in writing and


                                                 -3-
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under oath, within twenty-one (21) days of the date of service on You.


       3.      Responsive documents or electronically stored information must be produced in

compliance with any Order regarding the production of electronically stored information that shall

be entered by the Court.


       4.      Any use of search terms or TAR in responding to these Requests must be conducted

in compliance with any Order regarding search methodologies of electronically stored information

that shall be entered by the Court.


       5.      Should You find the meaning of any term, or request for production, to be unclear,

You should assume a reasonable meaning, state what that assumed meaning is, and answer the

request on the basis of that assumed meaning.


       6.      If You object to answering any of these discovery requests or withhold documents

from production in response to the requests for production, in whole or in part, state Your

objections and/or reasons for not responding and/or producing and state all factual and legal

justifications that You believe support your objection or failure to answer or to produce. If You

object to answering only part of a discovery request, specify the part to which You object and

respond to the remainder.


       7.      If You deem any discovery request to call for privileged information or documents,

and assert privilege to avoid divulging the information or producing the documents for which You

claim privilege, provide a list with respect to each item of information or each document withheld

based on a claim of privilege, stating:


               a. Description of allegedly privileged communication or document withheld;


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                b. Persons present during or participating in allegedly privileged communication,
                   or author(s) and recipient(s) of document withheld;

                c. Date of allegedly privileged communication or document withheld;

                d. Subject matter of allegedly privileged communication or document withheld;

                e. Type of document withheld (e.g., letter, memorandum or computer database);

                f. Nature of privilege(s) claimed; and

                g. The paragraph(s) of these discovery requests to which the allegedly privileged
                   communication or document relates.

        8.      These discovery requests are deemed to be continuing in nature, and You are

required to amend or supplement the responses as the above-captioned matter continues.


                                   DOCUMENT REQUESTS

        1.      An organization chart showing Your current corporate structure and/or corporate

affiliations.


        2.      Any operating agreement, shareholder agreement, or similar agreement reflecting

or memorializing Your ownership structure.


        3.      Documents and communications sufficient to show the identity, and each role and

affiliation, of all employees and/or contractors who are employed in common by You and one or

more of PWG, PWW, X Wireless, LLC (“X Wireless”), Odin Mobile, LLC (“Odin Mobile”), and

Q Link Wireless, LLC (“Q Link”).


        4.      All documents and communications relating to any payments or transfers of funds

or other assets between You and Paul Greene, and/or any entities that he is affiliated with,

including PWG, PWW, X Wireless, Odin Mobile, and Q Link.


        5.      All documents relating to the acquisition of Your equity by GFH1, LLC, including


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without limitation documents concerning the source of funds for such acquisition.


       6.      Any actual or proposed agreement between You and Paul Greene.


       7.      All documents and communications concerning any actual or proposed agreement

between You and Paul Greene and/or any entity under his control, including PWG, PWW, X

Wireless, Odin Mobile, and Q Link.


       8.      Your financial reports, including, but not limited to, a copy of each annual,

quarterly, monthly, and/or weekly financial report.


       9.      Documents and communications sufficient to show all Your agreements with

Subscribers, customers, and/or corporate affiliates that refer to and/or include as a party PWG,

PWW, StandUp Wireless, Odin Mobile, and/or X Wireless.


Dated: Washington, D.C.                           /s/    DRAFT
 November ___, 2024                               David Daniels
                                                  Perkins Coie LLP
                                                  700 13th Street, NW, Suite 600
                                                  Washington, DC 20005

                                                  David Gold (admitted pro hac vice)
                                                  Perkins Coie LLP
                                                  110 North Wacker Drive, Suite 3400
                                                  Chicago, IL 60606-1511

                                                 Attorneys for T-Mobile




                                               -6-
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies under penalty of perjury under the laws of the State of

_______________ that, on _________________, 2024, he/she/they caused to be served on the

person(s) listed below in the manner shown:

       Document Title(s)

       Service List


   ☐     United States Mail, First Class
   ☐     By Messenger
   ☐     By Facsimile
   ☐     By E-Mail


Dated at _____________ [city/state], this ____ day of _________________, 2024.




                                                               Signer Name




                                              -7-
